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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       December 22, 2020
                           UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

MARIA D. TORRES,                                 §
                                                 §
         Plaintiff,                              §
VS.                                              § CIVIL ACTION NO. 7:20-CV-221
                                                 §
ATLAS CREDIT CO., INC.,                          §
                                                 §
         Defendant.                              §

     ORDER GRANTING DEFENDANT’S MOTION TO COMPEL MANDATORY
        ARBITRATION AND STAYING CASE PENDING ARBITRATION

I.      Factual and Procedural Background

        Now before the Court is the Motion to Compel Mandatory Arbitration (Dkt. No. 4) filed

by Defendant Atlas Credit Company (“Atlas” or “Defendant”). Maria Torres (“Torres” or

“Plaintiff”) originally filed suit against Atlas on July 2, 2020 in the County Court at Law No. 4 in

Hidalgo County, Texas. Dkt. No. 1, Ex. E. Atlas was served on July 14, 2020 and removed to

this Court on August 12, 2020 on the basis of federal question jurisdiction. See Dkt. No. 1 at ⁋ ⁋

3, 5; 28 U.S.C. §§ 1331, 1441, 1446.

        Torres’s employment with Atlas was terminated in February of 2019. Dkt. No. 1, Ex. E at

⁋ 5.4. Torres alleges that Atlas discriminated against her on account of her age and/or for

engaging in protected activity by participating in a sexual harassment investigation. Dkt. No. 1,

Ex. E at ⁋ 5.2. This discrimination, Torres alleges, was in violation of the ADEA, Title VII of

the Civil Rights Act of 1964 and the Texas Commission on Human Rights Act. Id., Ex. E. at ⁋

5.5. Defendant moves to compel arbitration of all of Plaintiff’s claims on the asserted basis that

the claims are subject to a mandatory arbitration clause in the “Arbitration Agreement” entered

into by Plaintiff in connection with her employment. Dkt. No. 4, Ex. A. Torres’s response
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challenges only the validity of the arbitration agreement, not the applicability of the agreement to

these specific claims. See Dkt. No. 9 at 3. Upon consideration of the Motion, the parties’

responsive briefing, and in light of the relevant law, the Court finds that the Motion should be

granted and the case stayed pending arbitration, for the following reasons.

II.    Authority

       The evidentiary standard for a motion to compel arbitration is essentially the same as for

a summary judgement. In Estate of Guerrero, 465 S.W.3d 693, 703 (Tex. App.—Houston [14th

Dist.] 2015, no pet.) (citing In re Jebbia, 26 S.W.3d 753, 756 (Tex. App.—Houston [14th Dist.]

2000, orig. proceeding)). A clause requiring arbitration is interpreted under state-law contract

principles, and the language contained within will be enforced according to its plain meaning

unless this would defeat the intention of the parties. Pepe Int’l Dev. Co. v. Pub. Brewing Co., 915

S.W.2d 925, 930 (Tex.App.—Houston [1st Dist.] 1996, no writ.); see First Options of Chicago,

Inc. v. Kaplan, 514 U.S. 938, 944 (1995) (“When deciding whether the parties agreed to arbitrate

a certain matter (including arbitrability), courts generally . . . should apply ordinary state-law

principles that govern contracts.”). Therefore, Texas law is applicable here.

       In evaluating whether to compel arbitration, the court must determine: (1) whether a valid

agreement to arbitrate exists between the parties, and (2) whether the claims fall within the scope

of that agreement. ASQ Allstate Painting & Const. Co., Inc. v. Lexington Ins. Co, 188 F.3d 307,

311 (5th Cir. 1999) (applying Texas law to the arbitration agreement); see also Ruedemann v.

Energy Operators, Inc., 198 F. Supp. 2d 894, 897 (S.D. Tex. 2002) (same). If this is established,

the burden shifts to the party opposing arbitration to provide a valid defense to the enforcement

of the agreement. Briseno v. Cricket Inv., Ltd., No. M-09-59, 2009 WL 10711259, at *3 (S.D.

Tex Sept. 21, 2009) (Crane, J.) (citing In re Weeks Marine, Inc., 242 S.W.3d 849, 856


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(Tex.App.—Houston [14 Dist.] 2007, orig. proceeding [mand. denied])). Courts should not

invalidate an agreement to arbitrate “absent compelling reasons of law or equity for the

revocation of a contract, like fraud or unconscionability.” Leyva v. J.B. Hunt Transp., Inc. No. H-

08-1019, 2008 WL 4068160, at *2 (S.D. Tex. Aug. 29, 2008) (citing TEX. CIV. PRAC. & REM.

CODE § 171.001; Emerald Tex., Inc. v. Peel, 920 S.W.2d 398, 402 (Tex. App.—Houston [1st

Dist.] 1996, no writ)).

III.    Validity of the Arbitration Agreement

        Under the Texas Arbitration Act (TAA), an arbitration agreement needs to be written and

agreed to by the parties in order to be enforceable. In re AdvancePCS Health L.P., 172 S.W.3d

603, 606 (Tex. 2005) (citing 9 U.S.C. § 3; TEX. CIV. PRAC. & REM. CODE § 171.001(a); In re

Halliburton Co, 80 S.W.3d 566, 569 (Tex. 2002)). Atlas provides evidence that Torres agreed to

employment and on September 20, 2003 signed a written Arbitration Agreement (“Agreement”)

containing the following language:

                                         Arbitration Agreement

        Atlas Credit Co., Inc. hereinafter called employer, and the undersigned employee, hereby
        agree that the employer, whose representative has signed below, and the employee,
        whose signature appears below, agree to arbitrate any despites [sic] arising between them
        as provided by Chapter 171 General Arbitration of the Texas Civil Practice and Remedies
        Code. Employee’s portion of arbitration fees will be limited to the cost to file suit and
        serve each defendant but no more than $250.00.

Dkt. No. 4, Ex. A. The Agreement was signed by a representative of Atlas and by Plaintiff.

Under Texas law, “the fact that a party has signed a contract creates a ‘strong presumption’ that

the party has assented to the terms of an agreement.” Wright v. Hernandez, 469 S.W.3d 744

(Tex.App.—El Paso 2015) (citing In re Bunzl USA, Inc., 155 S.W.3d 202, 208–10 (Tex.App—El

Paso 2004, orig. proceeding); Rachal v. Reitz, 403 S.W.3d 840, 845 (Tex. 2013) (“Typically, a

party manifests assent by signing an agreement.”)).

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         Despite the Agreement being in writing and signed by her, Torres argues the Agreement

is nonetheless invalid for a number of reasons. Dkt. No. 9 at 3. First, Torres claims that because

her attorney did not also sign the Agreement, it is invalid under § 171.002 of the Texas Civil

Practice and Remedies Code.1 Torres further alleges several contract-law defenses such as lack

of consideration, duress, and indefiniteness of terms. Dkt. No. 9 at 5. Lastly, she claims that if

the Agreement is valid, it is nevertheless unenforceable because it is unconscionable and

deprives her of a forum in which to effectively vindicate her rights. Id. at 8.

    A. Applicability of Texas Civil Practice and Remedies Code § 171.002

         Section 171.002 provides that in certain circumstances, special requirements must be met

for a claim to be subject to arbitration under the Texas Arbitration Act (TAA). Namely that “(1)

each party to the claim, on the advice of counsel, agree[] in writing to arbitrate; and (2) the

agreement is signed by each party and each party’s attorney.” TEX. CIV. PRAC. & REM. CODE §

171.002. This requirement only applies to claims of personal injury and “agreement[s] for the

acquisition by one or more individuals of property, services, money, or credit in which the total

consideration to be furnished by the individual is not more than $50,000.” Id. Plaintiff has not

briefed into which category her claims allegedly fall. See Dkt. No. 9 at 1–2. Plaintiff’s counsel

has argued during a hearing, however, that § 171.002 is applicable because Torres’s claims are

claims for personal injury. See Dkt. No. 11 at 2. Texas courts have interpreted the “personal

injury” language in § 171.002 to be limited to physical personal injury. Chambers v. O’Quinn,

305 S.W.3d 141, 148 (Tex.App.—Houston [1st Dist.] 2009, pet. denied) (citing Taylor v. Wilson,

180 S.W.3d 627, 631 (Tex.App.—Houston [14th Dist.] 2005, pet. denied) (examining the

legislative history of § 171.002 and finding “no room for doubt in the legislature’s intent to

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  Plaintiff’s Response to the Motion to Compel references § 171.021(b)(2) and (c)(2), but there is no (b)(2) or (c)(2)
in § 171.021 of the Texas Civil Practice and Remedies Code. See Dkt. No. 9 at 1–2. The Court understands the
correct section to be 171.002, which is the section Plaintiff provides in full on pages 1 and 2 of her Response. See id.
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restrict the meaning of the personal injury exception of the [TAA] to physical personal injury”)).

       Plaintiff’s claims in this case center around alleged discrimination, not physical injury.

See Dkt. No. 1, Ex. E. at ⁋ 5.5. The only possible claim Torres presents that could be argued is

one for “personal injury” is her damages claim for past and future mental anguish. Dkt. No. 1,

Ex. G at ⁋ 7.4. This mental anguish claim, however, is not a claim for physical injury. As a

result, the attorney-signature requirement is not applicable to the claims in this case and the lack

of an attorney signature does not invalidate the Agreement.

   B. Consideration

       Consideration is a fundamental element of any valid contract. Briseno, 2009 WL

10711259, at *3. “In Texas, the surrender of a legal right constitutes valid consideration.” Id.

(quoting In re Alamo Lumber Co., 23 S.W. 3d 577, 579 (Tex. App.—San Antonio 2000, no pet.))

(internal quotations omitted). A mutual agreement to surrender the right to litigate claims before

a jury constitutes consideration supporting an agreement to arbitrate. Id. (citing In re Alamo

Lumber Co., 23 S.W. 3d at 579).

       Torres argues that the Agreement is invalid because she was an at-will employee who did

not provide any non-illusory consideration. Dkt. No. 9 at 3. To the extent Torres’s argument is

premised on her at-will status preventing the formation of a valid agreement, it fails. Courts,

including this one, have held that “at-will employment does not preclude the formation of other

contracts between employer and employee,” including arbitration agreements. Briseno, 2009 WL

3483009, at *4 (citing In re Jebbia, 26 S.W.3d at 756) (emphasis in original). Here, Torres and

Atlas both gave valid consideration by surrendering their rights to a jury trial. The language of

the Agreement indicates that both parties agreed to arbitrate any disputes between the two. Dkt.

No. 4, Ex. A. This promise is mutual and therefore not illusory. See id. at *3 (citing In re Alamo


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Lumber Co., 23 S.W. 3d at 579 (“Since the parties surrendered their rights to trial by jury, these

mutual promises supply valid consideration.”)).

   C. Duress

       Duress is an affirmative defense to contract validity. See Amateur Athletic Union of the

U.S., Inc. v. Bray, 499 S.W.3d 96, 103 (Tex. App.—San Antonio 2016, no pet.) (listing duress as

a contract-validity defense). “While there are several applications and definitions of duress, ‘[a]

common element of duress in all its forms . . . is improper or unlawful conduct or threat of

improper or unlawful conduct that is intended to and does interfere with another person’s

exercise of free will and judgment.” Weinberg v. Baharav, 553 S.W.3d 131, 134 (Tex. App.—

Houston [14th Dist.], no pet.).

       Torres argues that “the arbitration agreement is one of ‘adhesion’ and [she] was acting

under duress when she signed because she was in an inferior bargaining position.” Dkt. No. 9 at

5. This argument does not support a conclusion that Torres was acting under duress when she

signed the Agreement. Courts allow employers to make arbitration a mandatory condition of

employment. See e.g., Carson v. Higbee Co., 149 Fed.Appx. 289, 293 (5th Cir. 2005) (holding

an arbitration agreement notifying the employee that continued employment would constitute

acceptance was not a contract of adhesion); In re Halliburton Co., 80 S.W.3d at 572–73 (holding

an arbitration agreement to be valid where the company mandated the employee sign it to

continue in the company’s employ). The fact that Torres was in an inferior bargaining position is

not enough to satisfy her burden of showing duress.

   D. Deprivation of Substantive Rights

       An arbitration agreement must provide a forum for plaintiff to “effectively . . . vindicate

[her] statutory cause of action”—“an adequate substitute for a judicial forum in protecting the


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particular statutory right at issue.” Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 28

(1991); Williams v. Cigna Fin. Advisors, Inc., 197 F.3d 752, 763 (5th Cir. 1999). “By agreeing to

arbitrate a statutory claim, a party does not forego the substantive rights afforded by the statute;

it only submits to their resolution in an arbitral, rather than a judicial, forum.” Mitsubishi Motors

Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 628 (1985).

        Torres claims that submission of her claims to arbitration would deprive her of an

equivalent and accessible forum in which to effectively prosecute her claims. Dkt No. 9 at 8–10.

However, because the terms of the Agreement do not provide specifics about the procedures to

be used, Torres admits she has insufficient information to determine the ways in which the

Agreement may thwart her attempts to vindicate her rights. Id. at 8–9. Relatedly, Torres claims

the Arbitration Agreement is unenforceable because it omits essential terms. She points out the

failure of the Agreement to specify the procedures to be used in conducting the arbitration, what

discovery or evidence rules will apply, and whether the proceedings will be “of record.” Dkt. No.

9 at 7. Courts, including this one, have often held agreements lacking details like these to be

enforceable. See Briseno, 2009 WL 10711259 at *6. Should the procedures chosen limit

Plaintiff’s rights, she is free to file a motion to reconsider this Order.

    E. Unconscionability

        Unconscionable contracts, including arbitration agreements, are unenforceable under

Texas law. In re Poly-Am., L.P., 262 S.W.3d 337, 348 (Tex. 2008). “Unconscionability is . . .

determined in light of a variety of factors, which aim to prevent oppression and unfair surprise;

in general, a contract will be found unconscionable if it is grossly one-sided. Id.

        Torres seems to suggest the Agreement is unconscionable because of a lack of

definiteness as to the terms of arbitration and an inequality in bargaining power. Dkt. No. 9 at 6


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(italicizing the words “convoluted language” and “inequality in bargaining power” when

defining procedural unconscionability). As discussed in the sections above, neither the language

of the Agreement nor the at-will relationship between Torres and Atlas affect the validity of the

Agreement in this case. See In re Halliburton Co., 80 S.W.3d at 572–73 (Tex. 2002) (holding

that an arbitration agreement was not unconscionable where the company mandated the

employee sign it to continue in the company’s employ). The evidence provided by Plaintiff does

not support a finding of unconscionability.

IV.    Conclusion

       For the foregoing reasons, the Court finds the Arbitration Agreement to be a valid,

binding agreement. The Agreement was recorded in writing, assented to by both parties when

they signed the document, and none of the evidence supports a finding that the Agreement

should not be enforced. Accordingly, the Court hereby ORDERS that Defendant’s Motion to

Compel Mandatory Arbitration is GRANTED, and this action is STAYED pending arbitration.

At the conclusion of the arbitration, the parties are to promptly notify the court so that a

judgment may be entered in conformance with the arbitration results. In the interim, this matter

will be administratively closed.

       SO ORDERED this 22nd day of December, 2020, at McAllen, Texas.


                                                ___________________________________
                                                Randy Crane
                                                United States District Judge




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